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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  HAMPTON DELLINGER,

                                  Plaintiff,

  v.                                                      Civil Action No. 1:25-cv-00385-ABJ

  SCOTT BESSENT, et al.,


                                  Defendants.




                        NOTICE OF SUBSTITUTION OF COUNSEL
        Please withdraw the appearance of Madeline M. McMahon and enter the appearance of Jeremy

S.B. Newman as counsel for Defendants in this matter. Mr. Newman hereby certifies pursuant to

Local Civil Rule 83.2(f) that he is personally familiar with the Local Rules of this Court.


Dated: March 3, 2025                                    Respectfully submitted,

                                                        YAAKOV M. ROTH
                                                        Acting Assistant Attorney General

                                                        CHRISTOPHER R. HALL
                                                        Assistant Branch Director

                                                        /s/ Jeremy S.B. Newman
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